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                                                                                     2023 May-10 PM 12:47
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


                         UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

 MAXRELIEF USA, INC.,                             )
                                                  )       CIVIL ACTION NO.
                                Plaintiff,        )
                                                  )        5:22-cv-00270-LCB
 v.                                               )
                                                  )
 FULFYLD, LLC,                                    )
                                                  )
                                Defendant.        )


                               NOTICE OF APPEARANCE
          Benjamin B. Coulter of the law firm of Burr & Forman LLP enters his

appearance as additional counsel of record for Plaintiff MaxRelief USA, Inc.

Undersigned counsel respectfully requests that a copy of all future correspondence,

pleadings, orders, discovery, and other papers served on counsel for the parties be

also served on him.

          Dated: May 10, 2023
                                             /s/ Benjamin B. Coulter
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                                 CERTIFICATE OF SERVICE
          I hereby certify that I have served a copy of the foregoing document on the

following by Notice of Electronic Filing or, if the party served does not participate

in Notice of Electronic Filing, by U.S. First Class Mail and/or e-mail on this the 10th

day of May, 2023:

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                                                 /s/ Benjamin B. Coulter
                                                 OF COUNSEL




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